                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: PRIMARY PROVIDERS OF                     )
        ALABAMA, INC.,                           )          Case No.: 18-83207-CRJ11
                                                 )
        EIN: xx-xxx9960                          )
                                                 )
               Debtor.                           )          CHAPTER 11

                 MOTION TO FIX PROCEDURE FOR PERIODIC
               INTERIM ALLOWANCE OF COMPENSATION AND
          REIMBURSEMENT OF EXPENSES FOR CHAPTER 11 ATTORNEYS

       COMES NOW Primary Providers of Alabama, Inc, as Chapter 11 Debtor (“Debtor”), and
 shows unto this Honorable Court the following:

                                          Background

        1.      On October 26, 2018, (the "Commencement Date"), the Debtor commenced with
 this Court a voluntary case under Chapter 11 of Title 11, United States Code (the "Bankruptcy
 Code").

         2.     This Court has subject matter jurisdiction to consider and determine this motion
 pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is
 proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.      The Debtor is a limited liability company organized and operating under the laws
 of the State of Alabama.

         4.     Because of the amount of legal work required at the beginning of this Chapter 11
 case, the Debtor’s attorneys will be subject to economic hardship if they do not receive periodic
 allowances of compensation and reimbursement of expenses as authorized by 11 U.S.C. Section
 331, to be paid by the estate.

         5.      The Debtor believes that it would be expedient for the Court to fix a procedure
 and dates for the filing of applications for interim allowances of compensation and
 reimbursement of expenses, for filing objections to such applications, and for hearing of
 objections if any are filed.

       6.      Pursuant to Bankruptcy Rule 2002, the Debtor proposes to serve a copy of this
 Motion upon the attorneys and parties set out in the certificate of service below.




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                                         Prayer for Relief

         WHEREFORE, premises considered, the Debtor prays that this Court will enter an Order
 establishing the following procedures for Debtor’s counsel to seek periodic allowance of interim
 compensation and reimbursement of expenses:

         A.     No earlier than the 15th day of each calendar month, Debtor’s counsel shall seek
 payment of interim compensation by serving a Notice (the “Monthly Fee Notice”) on the Debtor
 for interim payment for services rendered and reimbursement of expenses incurred during the
 preceding month (the “Compensation Period”).

         B.     Each Monthly Fee Notice shall comply with the Bankruptcy Code, the Federal
 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), applicable Eleventh Circuit law and
 the Local Rules of the Bankruptcy Court for the Northern District of Alabama (“Local Rules”),
 and shall be served upon the Bankruptcy Administrator, the 20 largest creditors, and any other
 party requesting such notice.

        C.      Each Notice Party shall have 10 days after service (the “Objection Deadline”) of a
 Monthly Fee Notice to deliver to Debtor counsel any Objection (the "Objection") to the Monthly
 Fee Notice. Each Objection must identify in detail the specific time entries and/or expenses
 which are the subject of the Objection.

         D.    Upon the expiration of the Objection Deadline, Debtor will be authorized to pay
 Debtor counsel an amount (the “Actual Interim Payment”) equal to the lesser of (i) 80 percent of
 the fees and 100 percent of the expenses requested in the Monthly Fee Notice (the “Maximum
 Payment”) or (ii) 80 percent of the fees and 100 percent of the expenses not subject to any
 Objection.

        E.      Any objecting party and Debtor’s counsel may attempt to resolve the Objection
 on a consensual basis. If the parties are unable to reach a resolution of the Objection, then Debtor
 counsel may either (i) file the Objection and any response to the Objection with the Court,
 together with a request for payment of the difference, if any, between the Maximum Payment
 and the Actual Interim Payment made to Debtor’s counsel (the “Incremental Amount”); or (ii)
 forego payment of the Incremental Amount until the next interim or final fee application hearing,
 at which time the Court will consider and dispose of the Objection, if requested by the parties.

        F.      Allowance of monthly fees and expenses shall not constitute an interim or final
 approval of the fees and expenses.

        G.       Beginning with the period ending on February 28, 2018, Debtor’s counsel shall be
 required to file with the Court and serve upon the Notice Parties once every 90 days (“Interim
 Period”) an interim application for allowance of compensation and reimbursement of expenses,
 pursuant to 11 U.S.C. § 331, of the amounts sought in the Monthly Fee Notices filed during such
 period (the “Interim Fee Application”). The Interim Fee Application must include a summary of
 the Monthly Fee Notices that are the subject of the request and any other information requested
 by the Court or required by the Local Rules.




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        H.      Debtor’s counsel shall file its notice of the Interim Fee Application (“Hearing
 Notice”) as provided by § 331 of the Bankruptcy Code, Rule 2016 of the Bankruptcy Rules, and
 Rule 2016-1 of the Local Rules of the United States Bankruptcy Court for the Northern District
 of Alabama.

        I.    The pendency of an Objection to payment of compensation or reimbursement of
 expenses will not disqualify Debtor counsel from future payment of compensation or
 reimbursement of expenses, unless the Court orders otherwise.

        J.      Neither the payment of or the failure to pay, in whole or in part, monthly interim
 compensation and reimbursement of expenses, nor the filing of or failure to file an Objection will
 bind any party in interest or the Court with respect to the allowance of interim or final
 applications for compensation and reimbursement of expenses of Debtor’s counsel.

          K.    All fees and expenses paid to Debtor’s counsel are subject to disgorgement until
 final allowance by the Court.

         L.     Hearing Notices to consider Interim Fee Application Requests and final fee
 applications (collectively, the “Applications”) are hereby limited to the Notice Parties and all
 parties who have filed a notice of appearance with the Clerk of this Court and have requested
 such notice.

        M.     Debtor will include and identify all payments made to Debtor’s counsel in
 accordance with the Compensation procedures in their monthly operating reports.

        Respectfully submitted, this 26th day of October, 2018.


                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard
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                                             Tazewell T. Shepard IV
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                                CERTIFICATE OF SERVICE

        This is to certify that I have this 26th day of October, 2018 served the foregoing motion
 on all parties as listed on the Clerk’s Certified Matrix and Richard Blythe, Office of the
 Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602 by electronic service through the
 Court’s CM/ECF system and/or by placing a copy of same in the United States Mail, postage
 pre-paid.


                                            /s/ Tazewell T. Shepard
                                            Tazewell T. Shepard




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